                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,
                                                        CASE NO.: 1:20-CV-01590
         PLAINTIFF,

V.
                                                        JUDGE JORGE L. ALONSO
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,
                                                        MAGISTRATE JUDGE JEFFREY CUMMINGS
         DEFENDANTS.


                                       NOTICE OF DISMISSAL

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

     Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule “A” of the

     Complaint:

                         NO.                           DEFENDANT
                         173                             Lex Altern


          Dated:      April 23, 2020              Respectfully submitted,

                                                  /s/ Ann Marie Sullivan
                                                  Ann Marie Sullivan
                                                  Alison Carter
                                                  Raymond Lang
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                                                  ATTORNEYS FOR PLAINTIFF
                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 23, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Ann Marie Sullivan
                                                      Ann Marie Sullivan
